            Case 3:18-cv-01063-JWD-EWD                Document 99-9           04/27/22       Page 1 of 7


Podsiadlo, Kathryn

From:             Podsiadlo, Kathryn
Sent:             Wednesday, March 2, 2022 4:19 PM
To:               'Michael Gallant'; 'John Dalimonte'; 'John Restaino'
Cc:               Cousins, Alexander; Douglas, Matthew J.; 'Alison Bimba'; 'Rhett Reeves';
                  zzz.External.allyson.emley@icemiller.com; zzz.External.katherine.althoff@icemiller.com; du Pont, Julie
                  K.; Brown, Arthur E.; zzz.External.diana.surprenant@arlaw.com;
                  zzz.External.paige.sensenbrenner@arlaw.com; 'Chris Coffin'
Subject:          RE: Baudin v. AZ: Expert Deposition Dates

Follow Up Flag:   Follow up
Flag Status:      Completed



Hi Mike, John and John –

Nice speaking with you all today. I am writing to memorialize our discussion and next steps:

Plaintiff’s Expert Designation: Non-Retained Testifying Experts

You confirmed that Plaintiff’s expert designation, which lists his health care providers as “non-retained
testifying experts,” was only meant to cover opinions and testimony derived from their care and
treatment of Mr. Baudin and not as expert witnesses. In other words, they will only offer testimony at
trial that is consistent with what’s in their medical records and/or existing deposition
testimony. Additionally, you do not intend to have them offer causation testimony since that would be
beyond the scope of their existing deposition testimony.

In order to clarify this issue, you are going to either (1) prepare a letter or (2) amend the expert
designation. We would prefer the latter.

Of course, we reserve our rights to demand a report and deposition from anyone listed as a non-
retained testifying expert if necessary.

Mjones and Waldum start times

You are going to check with Drs. Mjones and Waldum re reasonable start times for their depositions.
With respect to Dr. Mjones, we do not expect to use the full 7 hours. With respect to Dr. Waldum, we
are happy to divide the deposition into two days given the time difference and other issues you noted.
At this point, it sounds like you do not consider Dr. Mjones to be serving as an “official” expert.

Health care provider depos

We have contacted Dr. Finan for rate/schedule information but haven’t heard back yet.

Kasey Gora’s office is going to get back to us with dates/times and rate information. We’ll pass that
along when received so we can schedule the deposition at an agreeable time. Per today’s
conversation, these depositions will take place by Zoom.

We will be sure to update Chris Coffin as you suggested.
                                                          1

                                                                                                             EXHIBIT 8
                   Case 3:18-cv-01063-JWD-EWD               Document 99-9   04/27/22   Page 2 of 7


Pathology
I will make my best effort to have it delivered to the address Mike provided on Monday and provide
tracking information.

Thanks and have a nice evening,
Kathryn

___________
Kathryn Podsiadlo
Senior Associate

Arnold & Porter
777 South Figueroa Street | 44th Floor
Los Angeles, CA 90017‐5844
T: +1 213.243.4273 | F: +1 213.243.4199
Kathryn.Podsiadlo@arnoldporter.com | www.arnoldporter.com
From: Podsiadlo, Kathryn
Sent: Tuesday, February 22, 2022 10:49 AM
To: Michael Gallant <michael.gallant@drlawllp.com>; John Dalimonte <john@drlawllp.com>; John Restaino
<restaino@drlawllp.com>
Cc: Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Douglas, Matthew J.
<Matthew.Douglas@arnoldporter.com>; Alison Bimba <alison.bimba@drlawllp.com>; Rhett Reeves
<rhett.reeves@drlawllp.com>; zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>;
zzz.External.katherine.althoff@icemiller.com <katherine.althoff@icemiller.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; Brown, Arthur E. <Arthur.Brown@arnoldporter.com>;
zzz.External.diana.surprenant@arlaw.com <diana.surprenant@arlaw.com>;
zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>; Chris Coffin
<ccoffin@pbclawfirm.com>
Subject: RE: Baudin v. AZ: Expert Deposition Dates

Hi Mike,

Hope you had a nice weekend. Did you have a few dates/times in mind for our meeting next week? If
you give me a few dates/times that work for you, that would be ideal.

Thanks in advance,
Kathryn

_______________
Kathryn Podsiadlo
Senior Associate

Arnold & Porter
777 South Figueroa Street | 44th Floor
Los Angeles, CA 90017‐5844
T: +1 213.243.4273 | F: +1 213.243.4199
Kathryn.Podsiadlo@arnoldporter.com | www.arnoldporter.com
From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Friday, February 18, 2022 4:37 PM
To: Michael Gallant <michael.gallant@drlawllp.com>; John Dalimonte <john@drlawllp.com>; John Restaino
<restaino@drlawllp.com>
Cc: Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Douglas, Matthew J.
<Matthew.Douglas@arnoldporter.com>; Alison Bimba <alison.bimba@drlawllp.com>; Rhett Reeves
                                                              2
                   Case 3:18-cv-01063-JWD-EWD               Document 99-9       04/27/22      Page 3 of 7

<rhett.reeves@drlawllp.com>; zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>;
zzz.External.katherine.althoff@icemiller.com <katherine.althoff@icemiller.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; Brown, Arthur E. <Arthur.Brown@arnoldporter.com>;
zzz.External.diana.surprenant@arlaw.com <diana.surprenant@arlaw.com>;
zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>; Chris Coffin
<ccoffin@pbclawfirm.com>
Subject: RE: Baudin v. AZ: Expert Deposition Dates

Dear Mike,

Thank you for the email. The week of February 28th works for us. Can you please send us a few
days/times that you’re available that week?

We’ve started reaching out to the offices of Kasey Gora, P.A. and Kelly R. Finan, MD for dates/fee
schedules, but, to my knowledge, have not heard back from them yet. We will of course keep you
updated on that front so we can coordinate.

Have a nice evening!

Kathryn

_______________
Kathryn Podsiadlo
Senior Associate

Arnold & Porter
777 South Figueroa Street | 44th Floor
Los Angeles, CA 90017‐5844
T: +1 213.243.4273 | F: +1 213.243.4199
Kathryn.Podsiadlo@arnoldporter.com | www.arnoldporter.com
From: Michael Gallant <michael.gallant@drlawllp.com>
Sent: Friday, February 18, 2022 3:11 PM
To: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; John Dalimonte <john@drlawllp.com>; John Restaino
<restaino@drlawllp.com>
Cc: Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Douglas, Matthew J.
<Matthew.Douglas@arnoldporter.com>; Alison Bimba <alison.bimba@drlawllp.com>; Rhett Reeves
<rhett.reeves@drlawllp.com>; zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>;
zzz.External.katherine.althoff@icemiller.com <katherine.althoff@icemiller.com>; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; Brown, Arthur E. <Arthur.Brown@arnoldporter.com>;
zzz.External.diana.surprenant@arlaw.com <diana.surprenant@arlaw.com>;
zzz.External.paige.sensenbrenner@arlaw.com <paige.sensenbrenner@arlaw.com>; Chris Coffin
<ccoffin@pbclawfirm.com>
Subject: RE: Baudin v. AZ: Expert Deposition Dates

External E‐mail

Dear Kathryn,

I am writing in response to your letter dated February 16, 2022 concerning “Expert Discovery.”

Limited Discovery Related to Serum Gastrin Test

Plaintiff will provide you with responses to your additional discovery requests as soon as they are completed.
                                                              3
               Case 3:18-cv-01063-JWD-EWD                         Document 99-9              04/27/22         Page 4 of 7


Discovery of New Treaters

Plaintiff does not oppose depositions of Kasey Gora, P.A. or Kelly R. Finan, MD at a mutually agreeable time and place.

Non‐Retained Experts Listed in Plaintiff’s Designation of Expert Witnesses

We would like to have a call concerning your request for clarification of the disclosure that was made concerning Mr.
Baudin’s treating physicians. I am out of town next week, so would be available for a call the week of February 28th.

Have a good weekend.

Mike

Michael E. Gallant




A: 1250 Connecticut Ave, NW
   Washington, D.C. 20036
P: 833-44-DRLAW
F: 855-203-2035
E: michael.gallant@drlawllp.com
W: www.drlawllp.com

CONFIDENTIALITY NOTICE: This electronic transmission has been sent by a lawyer. It may contain information that is confidential,
privileged, proprietary, or otherwise legally exempt from disclosure. If you are not the intended recipient, you are hereby notified that you
are not authorized to read, print, retain, copy or disseminate this message, any part of it, or any attachments. If you have received this
message in error, please delete this message and any attachments from your system without reading the content and notify the sender
immediately of the inadvertent transmission. There is no intent on the part of the sender to waive any privileges, including the attorney‐
client privilege that may be attached to this communication. Thank you for your cooperation.




From: Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>
Sent: Wednesday, February 16, 2022 7:11 PM
To: John Dalimonte <john@drlawllp.com>; John Restaino <restaino@drlawllp.com>; Michael Gallant
<michael.gallant@drlawllp.com>
Cc: Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Douglas, Matthew J.
<Matthew.Douglas@arnoldporter.com>; Alison Bimba <alison.bimba@drlawllp.com>; Rhett Reeves
<rhett.reeves@drlawllp.com>; allyson.emley@icemiller.com; katherine.althoff@icemiller.com; du Pont, Julie K.
<Julie.duPont@arnoldporter.com>; Brown, Arthur E. <Arthur.Brown@arnoldporter.com>;
diana.surprenant@arlaw.com; paige.sensenbrenner@arlaw.com
Subject: RE: Baudin v. AZ: Expert Deposition Dates



[EXTERNAL EMAIL] DO NOT CLICK links or attachments unless you recognize the sender and know the content is safe.


                                                                      4
                   Case 3:18-cv-01063-JWD-EWD               Document 99-9   04/27/22      Page 5 of 7

Dear John, John & Mike –

I hope all is well. Attached please find a letter detailing some discovery-related issues that have
emerged as a result of Plaintiff’s (1) expert disclosure; and (2) supplemental production of documents
and supplemental answers to interrogatories. As discussed in our letter, we are also serving a
discrete set of discovery, attached here, relating to the serum gastrin test Mr. Baudin ordered
because we did not get the opportunity to question him about it during his deposition.

Additionally, can you please let me know if you were able to get new dates for the depositions of Drs.
Waldum and Mjones as requested below.

Please let us know if you want to discuss any of the issues set forth in our letter. Otherwise, we look
forward to your responses. Have a nice evening!

Thank you,
Kathryn

_______________
Kathryn Podsiadlo
Senior Associate

Arnold & Porter
777 South Figueroa Street | 44th Floor
Los Angeles, CA 90017‐5844
T: +1 213.243.4273 | F: +1 213.243.4199
Kathryn.Podsiadlo@arnoldporter.com | www.arnoldporter.com
From: Podsiadlo, Kathryn
Sent: Thursday, February 10, 2022 1:34 PM
To: 'John Dalimonte' <john@drlawllp.com>; Brown, Arthur E. <Arthur.Brown@arnoldporter.com>
Cc: Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Douglas, Matthew J.
<Matthew.Douglas@arnoldporter.com>; Michael Gallant <michael.gallant@drlawllp.com>; John Restaino
<restaino@drlawllp.com>; Alison Bimba <alison.bimba@drlawllp.com>; Rhett Reeves <rhett.reeves@drlawllp.com>;
zzz.External.allyson.emley@icemiller.com <allyson.emley@icemiller.com>; zzz.External.katherine.althoff@icemiller.com
<katherine.althoff@icemiller.com>; du Pont, Julie K. (Julie.duPont@arnoldporter.com)
<Julie.duPont@arnoldporter.com>
Subject: RE: Baudin v. AZ: Expert Deposition Dates

Hi John,

Thanks for providing these dates. We accept the following dates:

Alfred Neugut             Friday April 1, 2022

Nacer Abrouk               Tuesday, April 5, 2022

William Hrushsky          Thursday April 14, 2022

Josh Sharlin               Thursday, April 21, 2022

We need to depose Dr. Mjones at least two days before Dr. Waldum, so please offer new dates for
both accordingly. It is our position that we are entitled to depose Dr. Mjones before Dr. Waldum given
that he relies on her report and analysis of the pathology for his case specific opinions.

                                                              5
                   Case 3:18-cv-01063-JWD-EWD               Document 99-9   04/27/22      Page 6 of 7

Additionally, please note that we will not produce our experts for deposition until your expert
depositions have concluded.

Please let us know if you want to discuss further.

Thank you in advance,

Kathryn

_______________
Kathryn Podsiadlo
Senior Associate

Arnold & Porter
777 South Figueroa Street | 44th Floor
Los Angeles, CA 90017‐5844
T: +1 213.243.4273 | F: +1 213.243.4199
Kathryn.Podsiadlo@arnoldporter.com | www.arnoldporter.com
From: John Dalimonte <john@drlawllp.com>
Sent: Wednesday, February 9, 2022 2:57 PM
To: Brown, Arthur E. <Arthur.Brown@arnoldporter.com>
Cc: Cousins, Alexander <Alexander.Cousins@arnoldporter.com>; Douglas, Matthew J.
<Matthew.Douglas@arnoldporter.com>; Podsiadlo, Kathryn <Kathryn.Podsiadlo@arnoldporter.com>; Michael Gallant
<michael.gallant@drlawllp.com>; John Restaino <restaino@drlawllp.com>; Alison Bimba <alison.bimba@drlawllp.com>;
Rhett Reeves <rhett.reeves@drlawllp.com>
Subject: Baudin v. AZ: Expert Deposition Dates

 External E‐mail

Arthur,

Below are the dates we have confirmed with each witness below with the exception of Patricia Mjones. We believe,
however, that date should work for her.

Helge Waldum               Wednesday March 23, 2022

Patrica Mjones            Thursday March 24, 2022

Alfred Neugut             Friday April 1, 2022

Nacer Abrouk               Tuesday, April 5, 2022

William Hrushsky          Thursday April 14, 2022

Josh Sharlin               Thursday, April 21, 2022


Very truly yours,

John A. Dalimonte, Esq.
Managing Partner
Licensed in MA and DC



                                                              6
                  Case 3:18-cv-01063-JWD-EWD                                  Document 99-9                  04/27/22            Page 7 of 7




75 State Street, Suite 100
Boston, MA 02109
Tel: 833‐443‐7529 ext. 104
Fax: 855‐203‐2035

www.drlawllp.com

CONFIDENTIALITY NOTICE: This electronic transmission has been sent by a lawyer. It may contain information that is
confidential, privileged, proprietary, or otherwise legally exempt from disclosure. If you are not the intended recipient,
you are hereby notified that you are not authorized to read, print, retain, copy or disseminate this message, any part of
it, or any attachments. If you have received this message in error, please delete this message and any attachments from
your system without reading the content and notify the sender immediately of the inadvertent transmission. There is no
intent on the part of the sender to waive any privileges, including the attorney‐client privilege that may be attached to
this communication. Thank you for your cooperation.




This communication may contain information that is legally privileged, confidential or exempt from disclosure. If you are not the intended recipient, please note that
any dissemination, distribution, or copying of this communication is strictly prohibited. Anyone who receives this message in error should notify the sender
immediately by telephone or by return e-mail and delete it from his or her computer.
___________________________________________
For more information about Arnold & Porter, click here:
http://www.arnoldporter.com




                                                                                  7
